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                                UNITED STATES DISTRICT COURT
 1                             NORTHERN DISTRICT OF CALIFORNIA
 2                                   OAKLAND DIVISION

 3    PATRICK CALHOUN, et al., on behalf of
      themselves and all others similarly situated, Case No. 5:20-cv-5146-YGR-SVK
 4
             Plaintiffs,                              ORDER RE: RE-REVIEW PROPOSAL
 5

 6                   v.                                Re Dkt. No. 610

 7    GOOGLE LLC,

 8           Defendant.
 9

10
            Pursuant to this Court’s Order at Dkt. 603 and Google’s submission at Dkt. 610, Google will
11
     re-review the remaining 1,139 privilege log entries that Plaintiffs had previously challenged.
12

13 Google will provide the results of the re-review (as a raw number and as a percentage of both

14 documents reviewed and of documents for which privilege is claimed) to Plaintiffs and to the Court

15 and will produce any documents that it determines were mis-designated as privileged no later than

16 April 29, 2022. The Court will then determine if the error rate warrants review of additional

17
     documents.
18
            SO ORDERED.
19
     DATED: April 15, 2022                      _____________________________________
20

21                                               Honorable Susan van Keulen
                                                 United States Magistrate Judge
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28                                                -1-               Case No. 5:20-cv-5146-YGR-SVK
                            [PROPOSED] ORDER RE: IN CAMERA SUBMISSION AND RE-REVIEW PROPOSAL
